Case 1:99-cv-02496-PLF-MAU Document 3165-10 Filed 05/04/04
RJ. Reynolds Tobacco Company - 6/94

FOR RELEASE: JUNE 7, 1994
FTC CLOSES INVESTIGATION OF R.J. REYNOLDS TOBACCO COMPANY

The Federal Trade Commission has closed its investigation of
a possible violation of the Federal Trade Commission Act through
the use of unfair advertising practices in connection with the
sale of Camel cigarettes -- the “Joe Camel" advertising campaign
-- by the R.J. Reynolds Tobacco Company. The Commission has
determined that no further action is warranted at this time.

The Commission vote to close the investigation was 3-2, with
Commissioners Mary L. Azcuenaga, Deborah K. Owen and Roscoe B.
Starek, III, forming the majority. FTC Chairman Janet D. Steiger
and Commissioner Dennis A. Yao voted against closing the
investigation, and issued separate statements. The majority
responded in a joint statement.

Copies of the letter closing the investigation and the
Commissioners’ statements are available from the FTC's Public
Reference Branch, Room 130, 6th Street and Pennsylvania Avenue,
N.W., Washington, D.C. 20580; 202-326-2222; TTY for the hearing
impaired 1-866-653-4261.

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MEDIA CONTACT: Howard Shapiro, Office of Public Affairs
202-326-2176

File No. 932 3162)

(camel}

STATEMENT OF CHAIRMAN STEIGER
IN R.J. REYNOLDS TOBACCO COMPANY -- CAMEL CIGARETTES

File NC. 932 3162 (106)

I recommended to the Commission that we issue an
administrative complaint against R.J. Reynolds' use of the Joe
Camel advertising campaign. I have reason to believe that the
Camel campaign induced underage people to start smoking, and that
a proceeding against such ads would be in the interest of the
public. This conclusion is based on an exhaustive analysis of
the investigational record, which I believe contains sufficient
factual information on which to base my decision. f am
disappointed that a majority of my colleagues rejected my
recommendation to submit the matter to a full hearing on the
merits before an administrative law judge.

JOINT STATEMENT OF COMMISSIONERS MARY L. AZCOUENAGA,
DEBORAH K. OWEN, AND ROSCOE B. STAREK, III,
in R.J. Reynolds, File No, 932-3162

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Today, the Commission closes its investigation of the Joe
Camel advertising campaign after voting not to issue a complaint.
F ‘ough it is unusual to comment on our reasons for taking such
“ on, we have decided to explain our decision in light of the
Statements of our dissenting colleagues and the widespread public
interest the matter has generated.

Although it may seem intuitive to some that the Joe Camel
advertising campaign would lead more children to smoke or lead
children to smoke more, the evidence to support that intuition is
not there. Our responsibility as commissioners is not to make
decisions based on intuition but to evaluate the evidence and
determine whether there is reason to believe that a proposed
respondent violated the law. The Commission has spent a great
deal of time and effort reviewing the difficult factual and legal
questions raised by this case, including a comprehensive review
of relevant studies and statistics. Because the evidence in the
record does not provide reason to believe that the law has been
violated, we cannot issue a complaint.

If intuition and concern for children's health were a
sufficient basis under the law for bringing a case, we have no
doubt that a unanimous Commission would have taken that action
long ago. The dispositive issue here, however, was whether the
recerd showed a link between the Joe Camel advertising campaign
and increased smoking among children, not whether smoking has an
effect on children or whether the health of children is
important. Indeed, our concern about the health of children led
us to consider every possible avenue to a lawsuit before reaching

y's decision.

DISSENTING STATEMENT OF COMMISSIONER DENNIS A. YAO
IN R.J. REYNOLDS TOBACCO COMPANY -- CAMEL CIGARETTES
File No. 932-3162 (106)

I support bringing an administrative complaint against R.J.
Reynolds Tobacco Company. I have reason to believe that its use
of a cartoon character, Joe Camel, as the centerpiece of a
cigarette advertising and marketing campaign, has increased the
consumption of Cigarettes among those least able to understand
the heavy costs involved in smoking: minors under 18. By
refusing to bring such a case, the majority has implicitly
downplayed strong circumstantial evidence of an effect on minors,
evidence that I believe warrants full fact-finding in an
administrative trial. There is evidence that the cartoon
character has appeal to minors and that Camel has increased its
market share among minors. There is also evidence that the
decade and a half decrease in smoking among minors has slowed
down in the time since the Joe Camel campaign began.

Admittedly, the evidence is circumstantial ~- it is not
surprising that it would be difficult to produce direct evidence
that Joe Camel was the decisive factor in increasing smoking
among minors. In my view, however, given the tremendous
r *ntial for the loss of human life, the issues presented in
L 4. case are central te the agency's consumer protection
mission. I am most disappointed that the majority is not willing
to bring this matter to trial.

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